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 8                              UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     BECTON, DICKINSON AND                               Case No.: 21cv1173-CAB (NLS)
       COMPANY; SIRIGEN, INC; and
12                                                         ORDER:
       SIRIGEN II LIMITED,
13                                       Plaintiffs,       (1) GRANTING MOTION TO
14     v.                                                  CONTINUE DISCOVERY
                                                           BRIEFING DEADLINE;
15
       BECKMAN COULTER, INC.,
16                                     Defendant.          (2) GRANTING MOTION TO
                                                           CONTINUE DISCOVERY
17
                                                           BRIEFING DEADLINE
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                                                           [ECF Nos. 128, 129]
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             Before the Court are two motions by the parties requesting the Court to continue
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      deadlines to bring joint motions for determinations of discovery disputes. ECF Nos. 128,
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      129.
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             In the first motion, the parties request an extension to bring a discovery dispute
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      regarding Defendant’s Third Set of Interrogatories. ECF No. 128. The current deadline
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      is May 9, 2022 and the parties request an extension until June 8, 2022 so that they can
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      continue to engage in meet and confer efforts. Id. Good cause appearing, the Court
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                                                                                  21cv1173-CAB (NLS)
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 1    GRANTS this request. The deadline to bring a potential discovery dispute on
 2    Defendant’s Third Set of Interrogatories is extended to June 8, 2022.
 3          In the second motion, the parties request an extension to bring a discovery dispute
 4    regarding Plaintiffs’ First and Second Sets of Requests for Production of Documents and
 5    Things and Plaintiffs’ Interrogatory No. 12 from Plaintiff’s Second Set of Interrogatories.
 6    ECF No. 129. The Court previously granted various extensions, extending the deadline
 7    to bring a potential dispute as to these sets on or before May 13, 2022. See ECF Nos. 73,
 8    86, 93, 98, 115, 122. Regarding the requests for production, the parties request an
 9    extension until May 27, 2022, so that they can engage in meet and confer efforts and
10    continue to attempt to resolve the remaining issues. ECF No. 129 at 3. Regarding
11    Interrogatory No. 12, the parties request that the Court extend the deadline to bring a
12    dispute on this interrogatory to be two weeks after the Court rules on Discovery Dispute
13    No. 3. Id. at 3-4. The parties state that their dispute regarding Interrogatory No. 12 is
14    similar to the issues brought up in that dispute and the Court’s ruling will provide
15    guidance for them to attempt to resolve the dispute. Id. at 4. Good cause appearing, the
16    Court GRANTS these requests:
17          1)     The deadline for bringing a potential joint motion for determination of
18    discovery dispute regarding responses to Plaintiffs’ First and Second Sets of Requests for
19    Production of Documents and Things is extended to May 27, 2022.
20          2)     The deadline for bringing a potential joint motion for determination of
21    discovery dispute regarding Plaintiffs’ Interrogatory No. 12 is extended to two weeks
22    after the Court rules on Discovery Dispute No. 3 (ECF No. 124).
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            IT IS SO ORDERED.
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      Dated: May 10, 2022
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